                         Case 5:18-cv-07182-EJD Document 98-3 Filed 12/11/20 Page 1 of 69



                    1   John V. Picone III, Bar No. 187226
                        jpicone@hopkinscarley.com
                    2   Jeffrey M. Ratinoff, Bar No. 197241
                        jratinoff@hopkinscarley.com
                    3   HOPKINS & CARLEY
                        A Law Corporation
                    4   The Letitia Building
                        70 South First Street
                    5   San Jose, CA 95113-2406
                    6   mailing address:
                        P.O. Box 1469
                    7   San Jose, CA 95109-1469
                        Telephone:     (408) 286-9800
                    8   Facsimile:     (408) 998-4790
                    9   Attorneys for Plaintiffs and Counter-Defendants
                        NEO4J, INC. and NEO4J SWEDEN AB
                   10
                                                      UNITED STATES DISTRICT COURT
                   11
                                                   NORTHERN DISTRICT OF CALIFORNIA
                   12
                        NEO4J, INC., a Delaware corporation, and           CASE NO. 5:18-cv-07182-EJD
                   13   NEO4J SWEDEN AB, a Swedish
                        corporation,                                       DECLARATION OF JOHN BROAD IN
                   14                                                      SUPPORT OF PLAINTIFFS’
                                        Plaintiffs,                        CONSOLIDATED MOTION FOR
                   15                                                      SUMMARY JUDGMENT
                               v.
                   16                                                     Date:         March 25, 2021
                        PURETHINK LLC, a Delaware limited                 Time:         9:00 a.m.
                        liability company, IGOV INC., a Virginia
                   17                                                     Dept.:        Courtroom 4, 5th Floor
                        corporation, and JOHN MARK SUHY, an               Judge:        Hon. Edward J. Davila
                        individual,
                   18
                                           Defendants.
                   19

                   20   AND RELATED COUNTERCLAIM.

                   21
                        NEO4J, INC., a Delaware corporation, and           CASE NO. 5:19-CV-06226-EJD
                   22   NEO4J SWEDEN AB, a Swedish
                        corporation,
                   23                   Plaintiffs,
                   24          v.
                   25   GRAPH FOUNDATION, INC., an Ohio
                        corporation, GRAPHGRID, INC., an Ohio
                   26   corporation, and ATOMRAIN INC., a
                        Nevada corporation,                             REDACTED VERSION OF DOCUMENT
                   27
                                          Defendants.                   PROPOSED TO BE FILED UNDER SEAL
                   28
H OPKINS & C
  ATTORNEYS AT
                        842\3639444.7
 SAN JOSE   PALO        DECLARATION OF JOHN BROAD IN SUPPORT OF PLAINTIFFS’ CONSOLIDATED MOTION FOR SUMMARY JUDGMENT; 5:18-CV-
                        07182-EJD AND 5:19-CV-06226-EJD
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                    1          I, John Broad, declare as follows:
                    2          1.      I am the Vice President, Strategic Alliances and Channels at Neo4j, Inc. (“Neo4j
                    3   USA”). I submit this declaration on behalf of Plaintiffs in support of their Consolidated Motion
                    4   for Summary Judgment. The facts stated herein are based on my personal knowledge, except
                    5   with respect to those matters stated to be on information and belief, and as to those matters, I
                    6   believe them to be true. If called upon to testify as a witness in this matter, I could and would do
                    7   so competently.
                    8          2.      Neo4j USA is the company behind the leading graph platform for connected data,
                    9   marketed and sold under the trademark “Neo4j” (“Neo4j® Mark”). The Neo4j® graph database
                   10   platform (“Neo4j® Platform”) helps organizations make sense of their data by revealing how
                   11   people, processes and digital systems are interrelated. This connections-first approach powers
                   12   intelligent applications tackling challenges such as artificial intelligence, fraud detection, real-
                   13   time recommendations and master data. The company boasts the world’s largest dedicated
                   14   investment in graph technology, and its namesake graph database platform has amassed more
                   15   than 20 million downloads with huge developer community deploying graph applications around
                   16   the globe.
                   17          3.      Neo4j Sweden AB (“Neo4j Sweden”) is the owner of all copyrights related to the
                   18   Neo4j® Platform, including the underlying source code, and has licensed said copyrights to
                   19   Neo4j USA. After Neo4j USA’s incorporation, Neo4j Sweden became a wholly-owned
                   20   subsidiary of Neo4j USA. Neo4j USA also obtained the rights to the Neo4j® Mark in the United
                   21   States from Neo4j Sweden.
                   22          4.      Enterprise users of the Neo4j® Platform benefit from a turn-key solution with the
                   23   assistance of authorized Neo4j® solution partners, avoiding drawn-out development processes.
                   24   The Neo4j® Platform has more than 400 commercial customers, including global enterprises like
                   25   Citi, Walmart, Comcast, Cisco, Microsoft and UBS use the Neo4j® Platform to create a
                   26   competitive advantage from connections in their data. Other significant customers include
                   27   Adobe, IBM, Lyft, Boston Scientific, Airbnb, HP, Airbus, Pitney Bowes, Volvo, Bayer, Marriott
                   28   International, Orange, AstraZeneca, Novartis, LinkedIn and Telenor.
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                        842\3639444.7                                     -1-
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                    1          5.      The Neo4j® Platform is available both on-premises and via Google, Amazon and
                    2   Microsoft Azure cloud platforms with support from authorized Neo4j® solution partners. It is
                    3   utilized by more than 75% of Fortune 100 companies, including the top financial services firms,
                    4   software companies, logistics firms, retailers, airlines, automakers, telco companies, hospitality
                    5   companies, and by all of North America’s top 20 banking institutions. The company’s namesake
                    6   platform is the only graph database recognized by key analysts, including Forrester, Gartner, and
                    7   others, to have enough production applications to warrant inclusion in reports.
                    8          6.      The Neo4j® Platform has also won numerous awards and recognition in the
                    9   industry, including being recognized as the winner for “Overall Open Source Data Solution
                   10   Provider of the Year” by 2020 Data Breakthrough Awards. Attached hereto as Exhibit 1 is a true
                   11   and correct copy of a printout of a webpage, https://neo4j.com/awards/, from Neo4j USA’s
                   12   website that lists and provides links to the various awards that the Neoj4® Platform has received
                   13   since September 2015, including the 2020 Data Breakthrough Award.
                   14          7.      The Neo4j® Platform has consistently been the top ranked graph-based database
                   15   management system, closely integrated into Google Cloud Platform which choses only the top-
                   16   ranked databases to partner with. Attached hereto as Exhibit 2 is a true and correct copy of the
                   17   current ranks for graph-based database management systems created and maintained by solid IT
                   18   GmbH, an Austrian IT consulting company with a special focus on software development,
                   19   consulting and training for database-centric applications located here: https://db-
                   20   engines.com/en/ranking/graph+dbms, printed out on November 25, 2020.
                   21          8.      Attached hereto as Exhibit 3 is a true and correct copy of The Forrester Wave™:
                   22   Graph Data Platforms, Q4 2020 - The 12 Providers That Matter Most and How They Stack Up,
                   23   published on November 16, 2020, which found to be a leader in graph database platforms and that
                   24   “Neo4j remains a popular graph data platform to support most use cases.” This document is
                   25   subject to third party copyrights and contractual use restrictions, which requires that Neo4j USA
                   26   not make the document publicly available.
                   27   ///
                   28   ///
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                        842\3639444.7                                     -2-
 SAN JOSE   PALO        DECLARATION OF JOHN BROAD IN SUPPORT OF PLAINTIFFS’ CONSOLIDATED MOTION FOR SUMMARY JUDGMENT; 5:18-CV-
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                    1          9.      Attached hereto as Exhibit 4 is a true and correct copy of an October 20, 2020
                    2   press release issued by Neo4j USA and published on its website, titled “Neo4j Is the Choice of
                    3   Leading Companies for Graph Databases in the Cloud.”
                    4          10.     Attached hereto as Exhibit 5 is a true and correct copy of an October 14, 2020
                    5   press release issued by Neo4j USA and published on its website, titled “Google, NASA, PayPal
                    6   and the World Bank to Headline Neo4j’s NODES 2020 Developer Conference.”
                    7          11.     Attached hereto as Exhibit 6 is a true and correct copy of a September 23, 2020
                    8   press release issued by Neo4j USA and published on its website, titled “NASA, ICIJ, ATPCO,
                    9   Lyft and More Choose Neo4j for their Knowledge Graphs.”
                   10          12.     Attached hereto as Exhibit 7 is a true and correct copy of a January 29, 2020 press
                   11   release issued by Neo4j USA and published on its website, titled “Neo4j Marks Another Year of
                   12   Product, Customer and Community Momentum.”
                   13          13.     Attached hereto as Exhibit 8 is a true and correct copy of an October 22, 2019
                   14   press release issued by Neo4j USA and published on its website, titled “Neo4j is the Graph
                   15   Database of Choice for World’s Top Financial Services Organizations”.
                   16          14.     Attached hereto as Exhibit 9 is a true and correct copy of question and answer
                   17   session with Plaintiffs’ founder and Neo4j USA’s CEO, Emil Eifrem further discussing Plaintiffs’
                   18   founding and place in the graph database market, which was taken by and published by William
                   19   Blair & Company, L.L.C. on November 21, 2019.
                   20          15.     Attached hereto as Exhibit 10 is a true and correct copy of a February 13, 2018 in
                   21   impact report about Plaintiffs and the Neo4j® Platform, titled “More than a graph database,
                   22   Neo4j spreads graph platform message,” authored by James Curtis and published by 451
                   23   Research.
                   24          16.     Attached hereto as Exhibit 11 is a true and correct copy of a November 20, 2016
                   25   in impact report about Plaintiffs and the Neo4j® Platform, titled “Neo Technology takes in $36m,
                   26   revamps clustering architecture on Neo4j,” authored by James Curtis and published by 451
                   27   Research.
                   28   ///
H OPKINS & C
  ATTORNEYS AT
                        842\3639444.7                                     -3-
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                    1          17.     Neo4j USA has expended considerable effort and capital in the Neo4j® brand
                    2   from 2014 to the present. During that time, the company has sponsored its own annual global
                    3   conference for the graph technology community focusing on its Neo4j® Platform, in addition to
                    4   attending and sponsoring trade shows, to maintain its position and recognition as the #1 platform
                    5   for connected data. Including other promotional materials, training materials and courses, partner
                    6   marketing expenses, the company has spent over $12 million in the prior three years to establish
                    7   its position as a marketplace leader with a trustworthy reputation.
                    8          18.     GraphConnect is the world’s largest conference for the global graph community
                    9   spread across 4 days, including impact stories on how the Neo4j® Platform made a difference in
                   10   terms of innovation, technology, saving costs and driving revenue, hands-on training, the Graph
                   11   Hack hackathon and the latest evolution of graph technology in the general sessions and several
                   12   developer and partner summits. The partner summits’ agenda is comprised of proprietary topics
                   13   such as discussion of product roadmap, go to market plans, sales strategies, reference customers,
                   14   and support logistics. The attendees include graph database developers, architects, CTOs, CIOs,
                   15   line of business owners, technology analysts and consultants representing myriad industries,
                   16   including financial services, manufacturing, retail, healthcare, telecommunications, consumer
                   17   products, energy, government, technology, professional services, aerospace, hospitality,
                   18   transportation, life sciences and media and entertainment.
                   19          19.     GraphTour is the world’s largest conference series for the global graph community
                   20   with a similar format to GraphConnect condensed into one day in a given city, attracting
                   21   thousands of attendees with a similar profile that of GraphConnect and hosted by Neo4j in dozens
                   22   of cities worldwide.
                   23          20.     I am familiar with Graph Foundation’s ONgDB software. As part of my role as
                   24   Vice President, Strategic Alliances and Channels at Neo4j USA, I am involved with Neo4j USA’s
                   25   efforts to identify and respond to requests for quotes and open solicitations for graph database
                   26   platforms, including commercial companies and federal government agencies.
                   27          21.     In particular, Neo4j USA lost at least one opportunity to implement commercially
                   28   licensed Neo4j® Enterprise Edition(“Neo4j® EE”) and provide support services at the Internal
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                                               EXHIBIT 1
Neo4j Awards and Honors - Neo4j Graph Database Platform
                           Case 5:18-cv-07182-EJD Document 98-3 Filed 12/11/20 Page 8 of 69



                                                                                                                       


    Neo4j Awards and Honors

                                                           Company
                                                             News
                                                            Awards
                                                            Careers
                                                              Staff
                                                          Style Guide




    Award-Winning Neo4j Graph Database




                                                                 KMWorld AI 50: The Companies
    Bes Graph Database: 2020 DBTA
                                                                 Empowering Intelligent Knowledge
    Readers’ Choice Award
    Augus 6, 2020                                                Management
                                                                 July 9, 2020
    DBTA Readers’ Choice Awards Winners (2020)
                                                                 KMWorld AI 50: The Companies Empowering
    Neo4j was selected as one of the DBTA Readers’
                                                                 Intelligent Knowledge Management As the drive for
    Choice Awards Winners for 2020. Learn more
                                                                 digital transformation becomes an imperative for
    about Neo4j a winners in other categories. Read
                                                                 companies seeking to compete and succeed in all
    more: https://www.dbta.com/Editorial/Trends-and-
                                                                 indusry sectors, intelligent tools and services are
    Applications/DBTA-Readers-Choice-Awards-
                                                                 being recognized for their key roles… Read more →
    Winners-2020-141750.aspx?PageNum=7




https://neo4j.com/awards/[11/25/2020 11:43:23 AM]
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    13th Annual Ventana Digital Innovation
    Award Finalis: Data
    July 8, 2020

    Neo4j is a fnalis for Ventana Research’s                The Cooles Database Sysem
    13th Annual Digital Innovation Awards in the
                                                            Companies Of The 2020 Big Data 100
    category of Data. This is an important level of         April 28, 2020
    recognition for Neo4j’s technology innovation
                                                            The Cooles Database Sysem Companies Of The
    contribution to the market. More information at:
                                                        2020 Big Data 100 Neo4j: Top Executive: CEO
    https://www.ventanaresearch.com/resources/awards/innovation
                                                        Emil Eifrem Neo4j markets a graph database
                                                            sysem – graph databases are designed to sore
                                                            not jus data, but also the relationships between
                                                            data and… Read more →




                                                            Neo4j Included in KMWorld 100
                                                            Companies That Matter in Knowledge
                                                            Management 2020
                                                            March 10, 2020

    Neo4j Wins 2020 Data Breakthrough                       The annual lis of 100 Companies That Matter in
    Award for Overall Open Source Data                      Knowledge Management refects the urgency felt

    Solution Provider of the Year                           among many organizations to provide a timely fow
    April 16, 2020                                          of targeted information. Among the more prominent
                                                            initiatives is the use of AI and cognitive computing,
    We’re excited to announce that Neo4j has been
                                                            as… Read more →
    recognized by the 2020 Data Breakthrough Awards
    as the winner for “Overall Open Source Data


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    Solution Provider of the Year”! This year’s Data
    Breakthrough Awards received more than 1,500
    entries, and we’re… Read more →




    Neo4j in The 2019 SD Times 100:                         Bloor Mutable Award 2019
    DATABASE AND DATABASE                                   May 3, 2019

    MANAGEMENT                                              Bloor Research recognises Neo4j with in its recent
    May 31, 2019                                            Graph Database Market report. The Bloor Mutable
    Neo4j has been selected as a leader in the 2019         Awards are presented to software vendors who
    SDTimes 100 Database and Database                       enable organizations to be more adaptable and
    Management category. Read more:                         increase their ability to evolve more rapidly and
    https://sdtimes.com/sdtimes-100/2019/bes-in-            Neo4j has achieved… Read more →
    show/database-and-database-management-2019/




    Neo4j: 2019 Big Data 100                                Neo4j and DZD Data Impact Award
    May 1, 2019                                             Finaliss at Strata Data Conference
    The Cooles Big Data Management And Integration          March 14, 2019
    Software Of The 2019 Big Data 100 Neo4j                 Neo4j, the leader in graph databases is recognized
    provides the Neo4j Graph Platform including the         as a fnalis for the Data Impact Award The
    Neo4j graph database, an ACID-compliant sysem           German Center for Diabetes Research (DZD)
    with native graph sorage and processing. (Graph         worked with Neo4j combine research data sources
    databases treat the relationships between…              from genetics, epigenetics and metabolic pathways
    Read more →                                             with data from clinical… Read more →




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    Neo4j Wins Bossie Awards 2018 for bes                   Neo4j featured in 2018 Datanami
    open source software for data sorage                    Editor’s Choice for Bes Operational
    and analytics                                           Database
    September 27, 2018                                      September 14, 2018
    Neo4j honored to earn a spot on this year’s             Neo4j honored to earn a spot on this year’s 2018
    InfoWorld Bossie Awards for the bes open source         Datanami Editor’s Choice for Bes Operational
    software for data sorage and analytics Neo4j, the       Database Neo4j is the bes editors choice for
    original graph database, is vasly more efcient          Operational Database and featured in 2018
    than SQL or NoSQL databases for tasks that…             Datanami Editor’s Choice Awards Graph
    Read more →                                             databases are the mos elegant… Read more →




                                                            Neo4j Named to JMP Securities 2018
    Neo4j featured in 2018 Datanami
                                                            Lis of “Hot 100 Privately Held Software
    Reader’s Choice for Top Big Data
                                                            Companies”
    Achievement                                             September 10, 2018
    September 13, 2018
                                                            Neo4j honored to earn a spot on this year’s JMP
    Neo4j honored to earn a spot on this year’s 2018
                                                            Securities 2018 Lis of Hot 100 companies JMP
    Datanami Reader’s Choice for Top Big Data
                                                            Securities, a San Francisco-based, full-service
    Achievement Neo4j is the bes reader’s choice for
                                                            invesment bank, publishes its annual “Hot 100” lis
    Top Big Data Achievement and featured in 2018
                                                            to highlight the bes privately held software
    Datanami Reader’s Choice Awards The
                                                            companies as… Read more →
    International Consortium… Read more →




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    Neo4j Awarded 2018 InfoWorld                            Neo4j Recognized in CRN.com 2017 Big
    Technology of the Year                                  Data 100
    January 31, 2018                                        May 4, 2017

    Neo4j wins InfoWorld 2018 Awards for Technology         Neo4j Recognized as CRN’s Cooles Data
    of the Year for delivering graph database               Management And Integration Vendor in their 2017
    technology that ‘which ofers highly available           Big Data 100 lis. Neo4j gained recognition in 2016
    clusers, ACID transactions, and causal                  when a consortium of invesigative journaliss used
    consisency’.                                            the database to analyze the “Panama Papers,”
                                                            what some have called… Read more →




    Neo4j Selected as Mos Innovative                        Neo4j Wins Bossie Awards 2016 for Bes
    Solution by IT Innovation Forum                         Open Source Datacenter and Cloud
    October 17, 2016                                        Software
    IT Innovation Forum selected Neo4j as one of 30         September 21, 2016
    innovative solutions IT and Digital, "based on it’s     The release of Neo4j 3.0 earlier this year was
    contribution to economy, their business and             packed with speed, fexibility, and efciency. The
    replicability." Read the full article                   frs detail to note is that enterprise cusomers have
                                                            the opportunity to choose to use a new sorage
                                                            driver that removes the address space…
                                                            Read more →




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    Neo4j earned 2 Bes-in-Class Awards on
                                                            Neo Technology Recognized in DBTA
    Siftery
                                                            100 “Companies That Matter Mos in
    July 26, 2016
                                                            Data”
    Neo4j has earned two bes-in-class awards on             June 6, 2016
    Siftery, a database of software products and
                                                            Within a consantly changing feld, Database
    cusomers. The graph database is ranked the #1
                                                            Trends & Applications recognized Neo Technology
    product in market share for both Database Tools
                                                            as one of 100 companies of 2016 that matter mos
    and Graph Databases.
                                                            in data. See the other companies that made the lis
                                                            here.




    Neo Technology honored in SD Times                      CRN Includes Neo Technology in 30
    100 for Database & Database                             Cooles Data Management Vendors
    Management                                              May 2, 2016
    May 31, 2016                                            CRN came out with the Big Data 100 lis for 2016
    Another year for Neo Technology lised in 2016 SD        and included Neo Technology as one of 30 cooles
    Times 100 for Neo4j Graph Database as ‘Bes in           data management vendors. The complete lis can
    Show’ in Database & Database Management. To             be found here.
    see the complete lis of honors, visit: SD Times




    Neo4j “Champion” in Bloor Report
    November 13, 2015                                       Neo4j Acclaimed “Mos Popular and
    A graph database is one that sores data in terms        Widely Deployed Database”
    of entities and the relationships between entities. A   Consellation Research 2015
    variant on this theme are RDF (resource                 As might be expected with the rising popularity of

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    description framework) databases which sore data                     the topic there is a huge amount of useful
    in the format subject-predicate-object, which is                     information on Graph Databases to be found on
    known as a… Read more →                                              Wikipedia. This includes some highly informative
                                                                         tables of mos, if not all, the popular… Read more →




    Neo Technology Winner of NOSQL/
    Graph Database Technologies
    September 16, 2015

    Integrate 2015 is the world’s larges
    conference,expo,and social network that is focused
    on integrating technologies together. Lised are the
    Top Innovators of 2015, ranging in categories such
    as, API and data technologies. Neo4j Award Winner,
    NOSQL/ Graph Database Technologies Neo…
    Read more →




       PRODUCTS               CUSTOMERS              Why Graph
                                                     Databases?
                                                                        Company
                                                                        News                
                                                                                             
                                                                                               
                                                                                                 
                                                                                                   
                                                                                                    
       USE CASES              LEARN                  Graph Databases
                                                     vs RDBMS           Awards

                                                     What’s New in      Careers
       PARTNERS               DEVELOPERS
                                                     Neo4j             Staff
                                                     Graphdatabases.com




                                                     CONTACT US →

                                                     US: 1-855-636-4532
                                                     Sweden +46 171 480 113
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                                                     France: +33 (0) 1 73 23 56 07

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                                       Contact Sales: 1.855.636.4532   Email a graph expert




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                                                EXHIBIT 2
DB-Engines Ranking - popularity ranking of graph DBMS
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                                                                                                                                                                                            English
                                                                                                                                                                                           Deutsch


             Knowledge Base of Relational and NoSQL Database Management Systems                                                                                                 provided by solid IT

                   Home              |       DB-Engines Ranking                         |    Systems         |      Encyclopedia      |   Blog      |   Search       |     Vendor Login
                                                    Featured Products:    Couchbase                Vertica       Neo4j   DataStax Astra   MariaDB

              Select a ranking                                         Ranking > Graph DBMS                                                                                              RSS Feed

                 Complete ranking
                                                                       DB-Engines Ranking of Graph DBMS
                 Relational DBMS
                 Key-value stores
                                                                       The DB-Engines Ranking ranks database management systems according to their popularity. The
                 Document stores
                                                                       ranking is updated monthly.
                 Time Series DBMS
                 Graph DBMS                                            This is a partial list of the complete ranking showing only graph DBMS.
                 Object oriented DBMS                                                                                                                                               trend chart
                 Search engines                                        Read more about the method of calculating the scores.
                 RDF stores
                 Wide column stores
                 Multivalue DBMS                                                       include secondary database models                  32 systems in ranking, November 2020
                 Native XML DBMS                                                            Rank                                                                  Score
                 Event Stores                                                        Nov  Oct  Nov       DBMS                             Database Model       Nov        Oct     Nov
                                                                                    2020 2020 2019                                                            2020       2020    2019
                 Content stores
                                                                                       1.     1.    1.   Neo4j                            Graph              53.53 +2.20 +3.00
                 Navigational DBMS
                                                                                       2.     2.    2.   Microsoft Azure Cosmos DB        Multi-model        32.50 +0.49 +0.52
              Special reports                                                          3.     3.    4.   ArangoDB                         Multi-model         5.37 -0.18 +0.36
                                                                                       4.     4.    3.   OrientDB                         Multi-model         5.30 -0.17 -0.09
                 Ranking by database
                                                                                       5.     5.    5.   Virtuoso                         Multi-model         2.54 -0.03 -0.10
                 model
                 Open source vs.                                                       6.     6.    7.   Amazon Neptune                   Multi-model         2.43 -0.05 +0.83
                 commercial                                                            7.     7.    6.   JanusGraph                       Graph               2.37 -0.03 +0.58
                                                                                       8.     8.    8.   GraphDB                          Multi-model         2.11 +0.01 +0.97
                                                                                       9.     9.   14.   FaunaDB                          Multi-model         1.78       0.00 +1.17
              Featured Products                                                      10.     10.    9.   Dgraph                           Graph               1.62 -0.06 +0.58
                                                                                     11.     11.   13.   Stardog                          Multi-model         1.46 -0.01 +0.70
                                                                                     12.     12.   11.   Giraph                           Graph               1.14       0.00 +0.13
                                                                                     13.     13.   10.   TigerGraph                       Graph               1.14 +0.05 +0.12
                                                                                     14.     14.   12.   AllegroGraph                     Multi-model         1.04 +0.01 +0.17
                    SkySQL, the ultimate                                             15.     15.   15.   Blazegraph                       Multi-model         0.80 -0.02 +0.22
                    MariaDB cloud, is here.
                                                                                     16.     17.   16.   Graph Engine                     Multi-model         0.74 +0.05 +0.18
                   Get started with SkySQL                                           17.     16.   21.   Grakn                            Multi-model         0.74 -0.05 +0.53
                            today!                                                   18.     18.         Nebula Graph                     Graph               0.73 +0.18
                                                                                     19.     19.   18.   InfiniteGraph                    Graph               0.50 +0.02 +0.12

https://db-engines.com/en/ranking/graph+dbms[11/25/2020 10:36:44 AM]
DB-Engines Ranking - popularity ranking of graph DBMS
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                                                                                            Document
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                                                                                                     98-3 Filed 12/11/20 Graph
                                                                                                                           Page 18 of 69                         0.38 +0.03 +0.38
                                                                                          21.   21.   19.   FlockDB                         Graph                0.34 +0.01 +0.08
                                                                                          22.   22.   22.   HyperGraphDB                    Graph                0.27 +0.01 +0.07
                                                                                          23.   23.   25.   TinkerGraph                     Graph                0.19 -0.01 +0.07
                Cassandra made easy in the
                  cloud. Build cloud-native                                               24.   24.   28.   GraphBase                       Graph                0.18 +0.00 +0.10
                applications faster with CQL,                                             25.   25.   27.   AnzoGraph DB                    Multi-model          0.18 +0.02 +0.07
                 REST and GraphQL APIs.                                                   26.   26.   24.   Sparksee                        Graph                0.16 +0.03 +0.01
                         Try for Free.
                                                                                          27.   27.   32.   TerminusDB                      Graph, Multi-model   0.12   0.00 +0.12
                                                                                          28.   28.   30.   Memgraph                        Graph                0.10 -0.02 +0.04
                                                                                          29.   30.   29.   HugeGraph                       Graph                0.10 -0.01 +0.03
                                                                                          30.   29.   31.   VelocityDB                      Multi-model          0.10 -0.02 +0.03
                                                                                          31.   31.   23.   AgensGraph                      Multi-model          0.08 +0.00 -0.08
               The fastest unified analytical
               warehouse at extreme scale                                                 32.   32.   26.   HGraphDB                        Graph                0.01 -0.03 -0.11
                 with in-database Machine
               Learning. Try Vertica for free
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                    EXHIBIT 3
    REDACTED VERSION OF
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                                                EXHIBIT 4
Neo4j Is the Choice of Leading Companies for Graph Databases in the Cloud
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                 Neo4j Is the Choice of Leading
                 Companies for Graph
                 Databases in the Cloud

                 Adobe, the ACH Sysem of Colombia, Isagenix and Others
                 Choose Neo4j in the Cloud for Frictionless Control over Their
                 Complex Data Problems


                 SAN MATEO, Calif. – October 20th, 2020 – Neo4j®, the leader in graph technology,
                 announced that the majority of its cusomers are now deploying their graph applications
                 in the cloud, facilitated by fexible self-hosed and fully – managed options.


                 Over the las twelve months, over 90% of Neo4j cusomers have opted to run their
                 graph-powered applications in the cloud, many of whom are frs-time graph technology
                 users. The adoption of Neo4j across indusries – coupled with a shift to the cloud –
                 unlocks new possibilities to address complex data problems.




https://neo4j.com/press-releases/neo4j-cloud-deployment/[11/25/2020 12:26:55 PM]
Neo4j Is the Choice of Leading Companies for Graph Databases in the Cloud
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                      Caption: Neo4j’s graph technology runs everywhere for hosed and fully-managed cloud fexibility.  


                 Neo4j’s cloud deployment options ofer developers and IT teams the level of control and
                 management they need to support their application architecture. Solutions as diverse as
                 knowledge graphs, recommendation engines, cusomer 360 sysems, fraud detection
                 and many others leverage the Neo4j graph database without friction, freeing up users to
                 focus on innovation and delivering core business value.


                 Neo4j has made the world’s mos popular graph database available for any cloud
                 environment, with options to support organizations wherever they are in their cloud
                 journey. Neo4j provides self-hosed as well as fully managed deployment options to
                 support hybrid, "lift-and-shift" migration or cloud-native environment needs:


                 Neo4j Aura, Graph Database-as-a-Service: Fully managed and completely automated,
                 Aura enables developers to rapidly deploy, build and expand graph-powered
                 applications in the cloud, without the burden of managing infrasructure.


                 More than 450 organizations have used Neo4j Aura since its introduction las year, and
                 more than half of those organizations are frs-time graph database users. Neo4j Aura
                 has powered more than 1,700 applications and runs more than 2.5 billion graph queries
                 per month with an average execution time of 61 milliseconds.


                     Minka uses Neo4j Aura to sore transaction records and references for Transfya, a
                     modern blockchain-based transaction processing sysem enabling real-time
                     payments for Colombia’s ACH payments.

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                     Menome leverages Neo4j Aura to deliver a scalable cloud-based data insights
                     platform for environmental engineering, unifying diverse datasets helping
                     organizations make important, data-driven decisions.


                     Tourism Media uses Neo4j Aura for a fully automated and multilingual content
                     curation service via an intelligent cognitive assisant. Their application serves
                     dynamic web content for online travel businesses by using diverse and complex
                     datasets across global geographies and inventory databases. The fexibility and
                     contextual power of the graph model allow Tourism Media to scale easily with their
                     growing business needs while reducing their build times from days to hours.


                 Self-hosed in the Public Cloud: Hundreds of clients utilize Neo4j in public cloud
                 environments, including in Microsoft Azure, Amazon Web Services and Google Cloud
                 Platform. This option provides a high level of fexibility for organizations with complex
                 cusomized deployment requirements.


                 For example, Adobe Behance deployed Neo4j on AWS to replace legacy technology,
                 allowing them to signifcantly shrink their hosing coss. Human maintenance hours are
                 down, updates that used to take 12-30 minutes now run in 100 milliseconds.
                 Additionally, Neo4j has cut users’ average time from sign-up to initial activity from 1.4
                 seconds to 400 milliseconds.


                 “Switching to Neo4j was a huge win for us," said David Fox, software engineer at Adobe.
                 "We’ve seen signifcant performance improvements, and a great reduction in complexity,
                 sorage and infrasructure coss. Staf now focus on improving the infrasructure, versus
                 spending time frusratingly micro-managing it.”


                 Neo4j Cloud Managed Services: This white-glove service is cusomized for enterprises
                 that wish to run Neo4j in their cloud infrasructure but need experts to manage it for
                 them, freeing them to say focused on their core business operations.


                 Isagenix leverages Neo4j Cloud Managed Services on Amazon Web Services to provide
                 actionable information and real-time analytics to independent disributors, allowing them
                 to focus on business development activities and improving the overall cusomer
                 experience.


                 Ramanan Balakrishnan, Senior Director of Product Marketing at Neo4j, sees signifcant


https://neo4j.com/press-releases/neo4j-cloud-deployment/[11/25/2020 12:26:55 PM]
Neo4j Is the Choice of Leading Companies for Graph Databases in the Cloud
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                 growth in graph adoption on Amazon Web Services, Microsoft Azure and Google Cloud
                 Platform necessitated by data gravity and the desire to reduce operational overhead.


                 “Across use cases and indusries, Neo4j is uniquely engineered to provide friction-free
                 graph application deployment and seamless operation in the cloud,” said Balakrishnan.
                 “Cloud migration can be a long journey and presents unique challenges for every
                 enterprise. This is why we meet our cusomers wherever they are, and provide a
                 frictionless path to execute their Neo4j deployment journey.”


                 In May, Gartner published Top 10 Trends in Data and Analytics, 2020 *. The report
                 sates, “By 2022, public cloud services will be essential for 90% of data and analytics
                 innovation.” It goes on to say, “Business agility enabled by the cloud is more critical now
                 than ever before as organizations need to accelerate data-driven change and innovation
                 in response to economic downturn and crisis.”


                 *Gartner, “Top 10 Trends in Data and Analytics, 2020 ”, Rita Sallam, et al, 11 May 2020.


                 Find Out More
                 Additional information about Neo4j deployment options can be found by visiting the
                 Neo4j Cloud Deployment resource center:


                     Self-hosed in the Public Cloud


                     Neo4j Cloud Managed Services  


                     Neo4j Aura, Graph Database-as-a-Service


                 Neo4j is available on the AWS, GCP and Azure marketplaces.


                 Resources

                     Neo4j Aura


                     Neo4j for Cloud


                     Neo4j Cloud Developer Guide


                     Neo4j Cloud Managed Services


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                 reveal and predict how people, processes and sysems are interrelated. Using this
                 relationships-frs approach, applications built with Neo4j tackle connected data
                 challenges such as analytics and artifcial intelligence, fraud detection, real-time
                 recommendations and knowledge graphs. Find out more at neo4j.com.


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                                                EXHIBIT 5
Google, NASA, PayPal and the World Bank to Headline Neo4j’s NODES 2020 Developer Conference
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                 Google, NASA, PayPal and the
                 World Bank to Headline Neo4j’s
                 NODES 2020 Developer
                 Conference

                 Larges Global Gathering of Graph-Focused Developers Set to
                 Take Place October 20th


                 SAN MATEO, Calif. – October 14th, 2020 – Neo4j®, the leader in graph technology,
                 announced today the key highlights for the second-annual Neo4j Online Developer Expo
                 and Summit (NODES).


                 The one-day virtual conference is expected to attract more than 10,000 developers and
                 data scientiss on October 20th. The program includes diverse, interactive sessions
                 delivered by graph experts on topics ranging from anti-money laundering and
                 cybersecurity to contact tracing and automotive design. This year, NODES welcomes
                 over 70 speakers from across the globe.




https://neo4j.com/press-releases/neo4j-nodes-2020/[11/25/2020 12:31:00 PM]
Google, NASA, PayPal and the World Bank to Headline Neo4j’s NODES 2020 Developer Conference
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                                                                   Image Captions:
                 English: The Neo4j NODES 2020 Conference has attracted over 10,000 developers and data scientiss for a one-day virtual
                                                                       conference.
                 Cypher: MATCH (:Conference:Virtual {name:”NODES 2020″})-[:HAS_TRACK]->(t:Track)<-[:IN_TRACK]-(s:Session)
                 RETURN c.date, collect(t.name) as tracks, count(*) as sessions, size( ()-[:REGISTERED]->(c) ) as attendees // 2020-10-20,
                   [“Deep Dive”,”Building Applications”,”Graph Data Science”,”Visualization”,”Knowledge Graphs”, “Use cases”], 85,
                                                                          10000


                 Michael Hunger, Director of Developer Relations at Neo4j, commented on hosing the
                 world’s larges gathering of graph developers and data scientiss.


                 “NODES 2020 brings together thousands of graph practitioners from all over the world to
                 connect, share and learn about a broad range of topics from data science and
                 visualization to application development and use case deep dives," said Hunger. "It is
                 gratifying to see the community share their passion for applying graphs to challenging
                 data problems in areas such as healthcare, retail, recommendations and fraud
                 invesigations. NODES attendees will be the frs to learn about Neo4j’s future
                 technology plans.”


                 Neo4j is grateful to its 2020 NODES sponsors Google Cloud, Precisely, Internuntius,
                 LARUS, Crosscode, Linkurious, Structr, GraphAware, Kineviz, Hackolade, and yWorks.


                 Key highlights of the event include:

                     Emil Eifrem, CEO and Co-Founder of Neo4j, speaking on the future of graph
                     technology and the ICIJ’s lates FinCEN Files invesigation



https://neo4j.com/press-releases/neo4j-nodes-2020/[11/25/2020 12:31:00 PM]
Google, NASA, PayPal and the World Bank to Headline Neo4j’s NODES 2020 Developer Conference
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                     Google Cloud as the headlining Platinum Sponsor, speaking on developing
                     applications with Neo4j Aura


                     Exclusive advanced-level training and certifcation program (pre-conference
                     workshops)


                     Virtual spaces granting an opportunity to learn more about sponsors and engage
                     with them throughout the conference day


                     Sessions on diverse topics including contact tracing, the FinCEN Files, machine
                     learning, the 2020 US presidential election and much more   


                     Presentations by NASA, PayPal, Google, Deloitte, Capgemini and the World Bank


                     Bes practices on Neo4j Aura, Cypher, Neo4j Bloom and more


                 Robert Kubis, Cloud Developer Advocate at Google Cloud, looks forward to speaking at
                 NODES and sharing ways developers can expand and enrich their Neo4j Aura datasets
                 and workloads by connecting them to other Google Cloud oferings.


                 “Google Cloud is really pleased to be taking such a signifcant role in this year’s NODES
                 Conference,” Kubis said. “We see great value in the use of Neo4j Aura and similarly,
                 opportunity in signifcant growth and demand in its usage across various sectors. I look
                 forward to connecting with the global graph developer community this year.”


                 In addition to business sponsors, NODES 2020 brings together over 56 community
                 partner organizations worldwide, including AI Kenya, Data Philly, Women Who Code,
                 Data Science Salon, Spain AI and many others. The depth and diversity of this year’s
                 NODES partner organizations emphasize jus how global the graph technology
                 movement is.


                 Have you regisered for NODES 2020? Reserve your ticket today.


                 View the full NODES 2020 agenda.


                 Resources

                     Neo4j NODES


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                 challenges such as analytics and artifcial intelligence, fraud detection, real-time
                 recommendations and knowledge graphs. Find out more at neo4j.com.


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                                                EXHIBIT 6
NASA, ICIJ, ATPCO, Lyft and More Choose Neo4j for their Knowledge Graphs
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                NASA, ICIJ, ATPCO, Lyft and
                More Choose Neo4j for their
                Knowledge Graphs

                Neo4j Sees Surge in Demand for Enterprise Knowledge Graphs;
                Independent Survey Reveals that 89% of IT Leaders Plan to
                Expand Their Knowledge Graph Initiatives


                SAN MATEO, Calif. – September 23rd, 2020 – Neo4j®, the leader in graph
                technology, announced a Knowledge Graph Quick Start program to support the
                company’s rapidly growing knowledge graph cusomer base. This market acceleration is
                corroborated in the results of an independent survey, "Technology Executive Priorities
                for Knowledge Graphs” recently conducted by Pulse, which charts a surge in demand for
                knowledge graphs among large enterprises.


                At their mos basic level, knowledge graphs are used to share information, as the basis
                for data management and governance and as a data fabric. Neo4j cusomer use cases
                tend to use knowledge graphs for general analysis, forecasing, what-if scenario
                planning and increasingly to contextualize AI (artifcial intelligence) and machine
                learning sysems. Increasing integration of knowledge graphs into broader business
                sysems is widely expanding their use for process initiation and automation.


                Neo4j expects enterprise demand for its knowledge graph technology to grow, an
                outlook that is backed by the Pulse survey results. The majority of IT decision makers


https://neo4j.com/press-releases/knowledge_graph_survey/[11/25/2020 12:32:52 PM]
NASA, ICIJ, ATPCO, Lyft and More Choose Neo4j for their Knowledge Graphs
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                surveyed (89%) have an active plan to expand their knowledge graph initiatives over the
                next 12 months. Moreover, 92% of respondents believe that knowledge graphs improve
                machine learning accuracy and associated processes.


                An overwhelming majority of technology executives (97%) believe that there’s more
                potential within their organization for knowledge graph usage. The top three reasons to
                expand knowledge graphs are to improve machine learning and artifcial intelligence
                sysems (60%), open new revenue sreams (50%) and connect data silos to make
                information more accessible (50%).




                  Caption: Neo4j expects enterprise demand for its knowledge graph technology to snowball. According to IT
                  leaders, the top drivers of expansion will be machine learning, AI, opening new revenue opportunities and
                                                             connecting data silos.


                Several factors contribute to the increase in demand for knowledge graphs. Global
                sresses from the COVID-19 pandemic to secondary issues such as supply chain


https://neo4j.com/press-releases/knowledge_graph_survey/[11/25/2020 12:32:52 PM]
NASA, ICIJ, ATPCO, Lyft and More Choose Neo4j for their Knowledge Graphs
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                disruptions shine a light on rigid, outdated, inefcient sysems that are sraining
                organizations and networks to breaking point. Increasingly remote workers require
                codifed, organized information that is often perishable “tribal knowledge.” Applying
                relevant knowledge is the single mos powerful lever a business has to remain nimble,
                creative and resilient in an uncertain and frenetic market.


                Neo4j Knowledge Graph Cusomer Success
                Neo4j knowledge graphs bring complete visibility to data, processes, products,
                cusomers and – mos importantly – how they all interrelate. As a result, organizations
                can see the bigger picture and make more informed decisions. The Neo4j native graph
                database provides a fexible and intuitive representation of real-world complexity,
                naturally capturing contextual information and unifying fragmented data. The result is
                relevant, timely data that drives forecasing and actions based on holisic information.


                Organizations that have implemented Neo4j knowledge graphs are well-positioned for
                agility. Here are some examples of how they use Neo4j to advance critical initiatives:


                Neo4j is currently being used by the ICIJ for the FinCEN Files. Neo4j has been working
                with the ICIJ since the 2016 Panama Papers invesigation, which has recouped more
                than $1.2 billion of tax revenue in 22 countries, with tax evasion invesigations
                continuing in more than 82 countries. In 2017, the ICIJ won the Pulitzer Prize for
                Explanatory Reporting for their work on the Panama Papers.


                “Using Neo4j, someone from our Orion project found information from the Apollo project
                that prevented an issue, saving well over two years of work and one million dollars of
                taxpayer funds.” David Meza, Chief Knowledge Architect at NASA


                “Ninety percent of Lyft data scientiss are using Amundsen [knowledge graph using
                Neo4j] to do their jobs on a weekly basis. We also found that this tool has increased
                productivity for our entire data science organization by around 30%.” – Tamika Tannis,
                Software Engineer, Lyft


                According to Jussi Vira, CEO of Turku City Data, Neo4j was chosen for their city-wide
                knowledge graph n-bridges, because the property graph model enables them to
                continuously write back to their graph and derive better solutions to address key city
                priorities.


                “With Neo4j as a foundation for n-bridges, Turku City Data uses contextual AI to help


https://neo4j.com/press-releases/knowledge_graph_survey/[11/25/2020 12:32:52 PM]
NASA, ICIJ, ATPCO, Lyft and More Choose Neo4j for their Knowledge Graphs
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                solve smart city problems as they arise, with the time to the next project decreasing
                dramatically,” said Vira. “For example, n-bridges allowed the city of Turku to respond
                quickly to COVID-19 related issues, such as delivering food to elderly citizens who are
                homebound. Graph techniques determine routes through the city that optimize delivery
                speed and transportation resources while maintaining unbroken cold chain
                requirements. This graph-based route optimization aids the planning and management
                of safe and resource-efcient food disribution.”


                Covidgraph.org provides a new way for researchers to analyze publications, genes,
                proteins and disease. It’s proven to be an invaluable exercise to fnd treatments and
                vaccines in the absence of long term clinical trials and minimal peer-reviewed research.


                NEORIS HealthCheck enables companies to undersand each employee’s well-being
                and how infection trends will impact them at their specifc location. At the same time,
                employees will be able to check-in and share critical information about their well-being to
                help their organization provide the necessary help and guidance.


                eBay for Google Assisant uses a Neo4j knowledge graph to infer contextual information
                within a shopping reques. eBay engineers knew that deploying a chatbot to their user
                base required internet scale with a high degree of resiliency and availability, plus
                predictable responses in milliseconds.


                The German Center for Diabetes Research accumulates vas amounts of data
                disributed across various locations. It has built a maser database to provide its 400-
                srong team of scientiss with a holisic view of available information, enabling them to
                gain valuable insights into the causes and progression of diabetes.


                ATPCO has implemented a Neo4j-powered pricing engine for airfare pricing. Neo4j is at
                the core of at leas fve of the primary data services ofered, from fare management to air
                travel tax calculation. Getting a competitive price for a plane journey involves a large
                amount of complex data processing factoring over 100 billion product permutations.


                Operationalize Knowledge Graphs Faser
                Neo4j’s Knowledge Graph Quick Start service scopes and builds a solution so that
                enterprises can go from zero to operational knowledge graph in as little as eight weeks.
                Neo4j experts use pre-built, cusomizable solution frameworks with proven code, models
                and components to build a domain-specifc knowledge graph. These supported
                frameworks include data models and ontologies for fnancial sysems, supply chain,

https://neo4j.com/press-releases/knowledge_graph_survey/[11/25/2020 12:32:52 PM]
NASA, ICIJ, ATPCO, Lyft and More Choose Neo4j for their Knowledge Graphs
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                privacy compliance, cusomer, employee and patient information. Services include:


                     Neo4j insallation and confguration


                     Applying a solution framework and cusomizing a data model


                     Transforming data into a semantic format


                     Data cleansing, the application of model consraints and entity resolution


                     Applying graph analytics and machine learning to reshape and complete a
                     knowledge graph


                     Performance tesing and tuning to ensure optimal results


                More Information
                You can download the highlights from the “Technology Executive Priorities for
                Knowledge Graphs” survey.


                To learn more about Neo4j knowledge graphs at NASA and BMO Financial Group,
                watch this knowledge graph-focused Neo4j Connections event.


                Learn more about Neo4j’s Knowledge Graph Quick Start program here.


                Resources

                     Neo4j for Knowledge Graphs


                     Neo4j Knowledge Graph Quick Start


                     Neo4j and the FinCEN Files


                     Neo4j for Artifcial Intelligence


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                     Neo4j is hiring


                About Neo4j
                Neo4j is the leader in graph database technology. As the world’s mos widely deployed
                graph database, we help global brands – including Comcas, NASA, UBS and Volvo – to
                reveal and predict how people, processes and sysems are interrelated. Using this
                relationships-frs approach, applications built using Neo4j tackle connected data
                challenges such as analytics and artifcial intelligence, fraud detection, real-time
                recommendations and knowledge graphs. Find out more at neo4j.com.


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Neo4j Marks Another Year of Product, Customer and Community Momentum

Growth fueled by cloud adoption, expanding enterprise customer base and technology leadership
SAN MATEO, Calif., January 29th, 2020 — Neo4j, the leader in graph technology, concluded a record year of customer and partner excellence, product growth and
community engagement.

During the course of 2019, Neo4j continued to lead the graph database category it created through initiatives including a partnership with Google Cloud, integrations with
Conﬂuent for Apache Kafka and championing its open source developer community.




                            [Data practitioners around the globe continue to embrace Neo4j as the world’s most popular graph database. Source: DBEngines.com]

Neo4j continued to grow in popularity throughout 2019 as the world’s most widely-deployed graph database. A major driver of this growth is Neo4j’s ability to provide
connected context that improves the accuracy of artiﬁcial intelligence and machine learning applications. The company advocates for responsible AI systems and shared
learnings from enterprise customer AI deployments as part of The National Institute of Standards and Technology (NIST) Federal AI Standards Engagement Plan.

As graph technology becomes central to data infrastructure, Neo4j customers have been innovating with the company’s leading solutions and products, rating Neo4j highly
on Gartner Peer insights. The company was featured in Gartner’s Magic Quadrant for Operational Database Management Systems, received recognition in Gartner’s
Critical Capabilities for Operational Database Management Systems report and was included in The Forrester Wave™Big Data NoSQL, Q1 2019.

Staying true to its mission to help the world make sense of data, Neo4j welcomed new customers in key verticals such as ﬁnancial services and retail, and emerging areas
such as manufacturing and life sciences. Ensuring broad access to Neo4j has been of utmost importance to the company and this year was no exception. In March, the
company expanded its Startup Program to help early-stage companies harness the power of Neo4j, and in October, launched its Educator Program that allows for both new
and experienced graph educators to provide hands-on use of Neo4j to students and nonproﬁts across the globe.

Emil Eifrem, CEO and Co-Founder of Neo4j, reﬂected back on 2019.

“As the world becomes more connected through technology and as global business operations integrate, data not only informs our decisions but leads us on paths of
discovery,” Eifrem said. “We’ve seen graph databases deployed across a variety of industries and use cases from ﬁghting ﬁnancial crimes and powering real-time


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recommendation engines, to tackling the opioid crisis and furthering cancer and diabetes research. We are only scratching the surface of what we can do with graph
technology. Neo4j is poised for strong, continued growth and for propelling our unrivaled capabilities further in 2020.”

Neo4j plans to extend its lead and expand the boundaries of graph technology, continuing to build the largest graph technology ecosystem and stewarding its vibrant
community of developers, data scientists and graph practitioners.

Neo4j 2019 highlights and milestones include:

Technology Leadership

      Neo4j Aura™ – In November, the company launched Neo4j Aura, the ﬁrst fully managed native graph database as a service. Aura makes Neo4j accessible for
      small and mid-sized businesses via the cloud. Read more about how Aura advances Neo4j’s mission and product offerings in the press release.
      Machine Learning and AI – Neo4j customers have been using the company’s graph technology as a basis for learning applications. In May of 2019, Neo4j shared
      the best practices amassed from graph-based AI and machine learning deployments with the U.S. Government, contributing to the Federal AI Standards Engagement
      Plan.

Corporate Momentum

      Graph Query Language – In an effort championed by Neo4j, the international committees that developed the SQL standard voted in September 2019 to make
      Graph Query Language (GQL) the ﬁrst ISO/IEC international standard database languages project since SQL. This move toward an international standard for graph
      database queries is indicative of the rapid adoption of graph technology and is great news for graph users and buyers.
      Fast Company Honors Graphs4Good – In April, Neo4j’s Graphs4Good program received an honorable mention in Fast Company’s 2019 World Changing Ideas.
      The award illustrates Neo4j’s graph-powered projects that affect positive social change and take on some of the world’s toughest challenges.
      Startup Program Expansion – The Neo4j Startup Program supports growing businesses as they build applications on Neo4j. Notable program alumni include
      Medium, Shutl (Acquired by eBay), SOUQ (acquired by Amazon), OneFineStay (acquired by AccorHotels) and Lending Club. In 2019 more than 1,000 startups
      enrolled in the program bringing the total number of participants to more than 2,500.
      Educator Program Launch – In October, the company launched its Educator Program allowing for both new and experienced graph educators to provide hands-on
      use of Neo4j to their students in accredited, non-proﬁt institutions, as well as K-12, college and university programs across the globe. In just three months more than
      250 educators have taken advantage of the program.
      Applying Graphs in Data Science – This year, O’Reilly Media published Graph Algorithms: Practical Examples in Apache Spark & Neo4j, co-authored by
      Neo4j’s graph technology experts Mark Needham and Amy E. Hodler. The book delivers helpful examples for application developers and illustrates the value
      delivered from graph algorithms. It has been downloaded more than 45,000 times.

Graph Ecosystem

      Google Cloud – In April, Neo4j and Google Cloud announced a strategic partnership to offer Neo4j as a seamless experience integrated with the GCP console,
      billing and support services. Through this partnership, Google Cloud is making Neo4j accessible for developers and businesses in a simple, friction-free way. Read
      more on this partnership from CEO Emil Eifrem’s blog.
      Conﬂuent for Apache Kafka – In October, Neo4j announced a new integration with Apache Kafka® and Conﬂuent® Platform to connect Kafka event streams.
      Neo4j, Kafka and Conﬂuent users and customers now have a seamless, supported integration thanks to the new connector. Neo4j Streams is easily applied to a
      variety of real-time use cases including ﬁnancial fraud analysis, knowledge graphs and customer 360.
      Thales Integration – A comprehensive integration between Neo4j Enterprise Edition and Thales Vormetric Transparent Encryption launched in July 2019 to deliver
      data-at-rest encryption. The integration provides industrial-strength encryption-at-rest for the Neo4j graph database and helps Neo4j users meet more stringent
      security and compliance requirements, while maintaining hardware and software performance.

Customer Excellence

      Lyft Amundsen – Spun out of Lyft by software engineers Tao Feng and Mark Grover, Amundsen is a tool using Neo4j for ﬁnding and discovering data sets within
      the company. In September, Mark Grover of Lyft sat down with Neo4j for a webinar, accompanied by comprehensive media coverage in ZDNet.
      Strata Data Award – In March, the Strata Data Awards honored the German Center for Diabetes Research (DZD) and Neo4j as a top-three ﬁnalist for its 2019
      awards. The DZD’s graph database implementation combines research data sources from genetics, epigenetics and metabolic pathways with data from clinical
      studies to ﬁnd new ways to ﬁght diabetes.
      Unmatched Customer Success – Neo4j added more than 100 new customers during 2019. Organizations like UBS, Caterpillar, Comcast, Dun & Bradstreet,
      Vanguard and others shared their success at conferences, on video and in case studies. Find out more about Neo4j’s customers here.
      Graphie Awards – The Graphie Awards celebrate the world’s most innovative graph technology applications, recognizing success in connected data across multiple
      categories. The winners of the 2019 Neo4j Graphie Awards included Dun & Bradstreet, EY, Lockheed Martin Space, Omnia AI and Volvo Cars.

Community Engagement

      World’s Largest Graph Practitioner Conference – This year marked the ﬁrst NODES (Neo4j Online Developer Expo and Summit) online event that brought
      together more than 1,600 developers and graph enthusiasts. The conference featured 53 talks on topics ranging from AI and machine learning to social media
      monitoring with graph technology.
      GraphTour – In 2019, Neo4j GraphTour touched down in major cities across the globe from Tel Aviv to New York, bringing together thousands attendees and
      graph technology experts from customers including Volvo, Lyft and ING for a day of learning, exploration and advice.
      Community Momentum – Neo4j delivers graph technology built by developers for developers. This practitioner-centric approach has resulted in a highly engaged
      developer community that is now more than 200,000 strong. In 2019, more than 4,500 new developers attained certiﬁcation or training, and more than 40,000
      professionals now list Neo4j as a skill on their LinkedIn proﬁle.

About Neo4j

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of community deployments and more than 400 customers harness connected data with Neo4j to reveal how people, processes, locations and systems are interrelated. Using
this relationships-ﬁrst approach, applications built using Neo4j tackle connected data challenges including artiﬁcial intelligence, fraud detection, real-time
recommendations and master data. Find out more at neo4j.com.

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Sweden +46 171 480 113
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Neo4j is the Graph Database of Choice for World’s Top Financial Services
Organizations

Deployed by 20 of the World’s Top 25 Financial Services Firms, Neo4j Sees a Surge in Demand for
its Powerful Graph Technology
SAN MATEO, Calif. – October 22, 2019 – Neo4j, the leader in graph databases, reported a surge in demand for its
powerful graph technology among the global ﬁnancial services community.

As ﬁrms step up their ﬁght against fraud, bolster anti money laundering (AML) investigation and comply with strict
transparency requirements, Neo4j has been the graph database of choice for 20 of the world’s 25 top ﬁnancial services
ﬁrms. Made famous thanks to its role in uncovering the Panama and Paradise Papers tax avoidance scandals, Neo4j is on
the shortlist for many organizations looking to identify and eliminate ﬁnancial fraud.




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  Caption: Neo4j worked with the ICIJ on the Panama Papers leak resulting in a Pulitzer Prize-winning investigation into global tax evasion.
                                     Shown is the Neo4j graph data model used for the investigation.

Fortune 500 organizations are adopting graph capabilities to scrutinize ﬁnancial data for the earliest signs of ﬁnancial
misconduct or fraud in real time. Organizations in the ﬁnancial services industry know they’re in a rapidly escalating arms
race trying to defend against bad actors leveraging new technologies – a struggle that requires new and more sophisticated
fraud detection and prevention approaches.

Firms’ ability to pinpoint ﬁnancial crime from huge data volumes using Neo4j are impressive. When transactions run into
tens of thousands of occurrences per day, traditional, manual approaches to anomaly checking aren’t sustainable.

Graph technology is able to “connect the dots” across even the most complex and opaque data trails to reveal the subtlest
connections and inter-relationships. This capability proved instrumental in recouping some $1.2 billion in ﬁnes and back
taxes linked to the Panama Papers affair.




              Caption: An anti-money laundering graph data model in Neo4j that clearly demonstrates how entities are related.

The global fraud detection and prevention market was valued at $17.5 billion in 2017 and is expected to grow to $120
billion by 2026, according to Stratistics MRC. As a testament to the velocity of innovation in fraud, over the last decade
more than 48,000 patents for fraud and anomaly detection solutions have been issued in the U.S. alone.

Dun & Bradstreet (D&B), the world’s leading business information provider, was among the ﬁrst to spot the potential to
apply graph technology to fraud detection, when it launched a new company ownership tracking service back in 2016. The
service allows clients to investigate all historic company ownership records linked to individuals, and it adheres to new
international transparency regulations designed to counter tax evasion and money laundering.

Dun & Bradstreet’s Senior Compliance Manager, Paul Westcott, explained how the company uses Neo4j.

“Being able to quickly understand relationships between data gives us the ability to rapidly interpret corporate structures
and any dilution of ownership of a business,” said Westcott. “Neo4j’s networks of nodes and connections mean the data to


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do this can be surfaced for an individual in milliseconds – a very quick return of information, making graph the ideal ﬁt for
our needs.”

Neo4j’s Vice President of Products, Philip Rathle, explains how augmenting traditional data management approaches with
graph databases allows ﬁnancial institutions to leverage connections inherent to their data.

“Graph databases offer powerful new methods of uncovering fraud rings, money laundering, and other sophisticated scams
by surfacing patterns in data that are invisible via traditional methods,” said Rathle. “The same pattern-based approach
enables ﬁnancial institutions to understand and better assist their customers, who grapple with multiple accounts,
identiﬁers, and lines of business. Graph-driven innovations at banks today result in initiatives and products that better serve
customers, increase share of wallet, promote capital preservation and enhance regulatory compliance effectiveness.”

AIG, Citigroup, Credit Agricole, China Zheshang Bank (CZ Bank), ING, Société Générale, Thomson Reuters and UBS are
among Neo4j’s numerous ﬁnancial services clients, applying Neo4j’s graph technology across a wide range of risk
management use cases. Meanwhile in the insurance sector, Neo4j’s customers include Aviva, AG Insurance Belgium, Die
Bayerische and Zurich Insurance Group.

Graph’s critical role in making sense of complex data relationships has been demonstrated in a broad range of business
settings. Gartner considers graph to be a top 10 data and analytics technology trend for 2019. Combined with artiﬁcial
intelligence and machine learning, graph technology has tremendous potential to uncover fraud with record speed and
efﬁciency.

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Find Out More

To understand how Neo4j addresses key challenges in ﬁnance and why Lending Club relies on Neo4j to manage over 130
microservices, visit neo4j.com/industries/ﬁnancial-services/.

About Neo4j

Neo4j is the leading graph database platform that drives innovation and competitive advantage at Airbus, Comcast, eBay,
NASA, UBS, Walmart and more. Thousands of community deployments and more than 300 customers harness connected
data with Neo4j to reveal how people, processes, locations and systems are interrelated. Using this relationships-ﬁrst
approach, applications built using Neo4j tackle connected data challenges including artiﬁcial intelligence, fraud detection,
real-time recommendations and master data. Find out more at neo4j.com

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pr@neo4j.com
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                                                                       Communications

Private Company Spotlight
                                                                       November 21, 2019


                                                                       Jason Ader, Analyst
                                                                       +1 617 235 7519
                                                                       jader@williamblair.com




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Private Company Spotlight: Neo4j




                                       Neo4j: Pioneer in Graph Databases
                                       Our Q&A With Emil Eifrem
                                       Founder and CEO of Neo4j
  Key Metrics:
                                       1. Discuss the sequence of events         insights and understand connections
 +$7.2B TAM                            that led to Neo4j’s founding and          in a way previously impossible.
                                       what problem you were aiming
                                                                                 The beauty of graph database
 $160M in total capital raised         to solve.
                                                                                 technology is that it’s entirely
                                       I had the idea for the very first graph   “horizontal.” We and our community
  300 employees globally               database midflight on my way to           have proven the value of graphs
                                       Mumbai. Johan Svensson, Peter             across nearly every industry in
 +$50M in ARR                          Neubauer, and I had been building an      organizations of all sizes. The same
                                       enterprise content management             Neo4j technology that helped discover
 +75% of Fortune 100 companies         system (ECM), but kept running up         and untangle the web of the Panama
 use Neo4j including:                  against the challenge of using a          and Paradise Papers has also helped
                                       relational database for querying          NASA modernize its famous “Lessons
  •   20 of the top 25 financial       connected data.                           Learned” database and advance its
      services firms                                                             missions to Mars. Our technology has
      7 of the top 10 software firms   That’s when the idea struck. I grabbed
  •                                                                              been used by the German Center for
  •   3 of the top 5 logistics firms   a napkin and quickly sketched the first
                                                                                 Diabetes Research (DZD) to help
  •   7 of the top 10 retailers        property graph model. The ideas
                                                                                 diabetes patients and work toward
  •   3 of the top 5 airlines          sketched on that napkin ultimately
                                                                                 eliminating the disease. It has also
  •   4 of the top 5 telco companies   took form as Neo4j, the world’s first
                                                                                 been deployed to offer powerful, real-
  •   3 of the top 5 hospitality       graph database, which also started our
                                                                                 time online recommendations for
      companies                        company. Though we were solving for
                                                                                 retailers like Walmart and eBay.
                                       our unique situation at that time, I
 Competitors:                          couldn’t have possibly imagined the       3. How big is the graph database
                                       worldwide impact that napkin sketch       market and how fast is it growing?
                                       would create.
                                                                                 It’s hard to put a dollar amount on the
                                       When we founded Neo4j, we knew we         graph database market, but we
  Customers:                           had invented an elegant new way to        estimate the total addressable market
                                       solve a hard data problem, but we         at $7.2 billion globally, Gartner
                                       could have never foreseen the growth      considers graphs a top 10 data and
                                       of connected data. Now it’s               analytics technology trend for 2019.
                                       everywhere—we have connected              The market has been growing rapidly
                                       devices and networks, social networks     in recent years, fueled by a better
                                       and human relationships, and big          understanding of the power of graph
                                       trends like IoT and artificial            databases. When Amazon (AMZN
                                       intelligence (AI) that are proving the    $1732.30; Outperform) and Microsoft
                                       power of understanding relationships      (MSFT $149.14; Outperform) entered
                                       in data.                                  the market, it really validated and
                                                                                 accelerated the category.
                                       Today, our commercial business is
                                       solving high-value data problems for      4. What can you share on Neo4j in
                                       big companies, and our open source        terms of market momentum, key
                                       community has shown us how                customers, growth, etc.?
                                       powerful graphs can address non-
                                                                                 We pride ourselves on being the
                                       corporate use-cases.
                                                                                 leader in the graph database market.
                                       2. Define “graph database” for the        Thousands of organizations from
                                       average person and spell out the          startups to Fortune 500 companies are
                                       main characteristics and use-cases.       using Neo4j to build new and
                                                                                 innovative applications that leverage
                                       In simple terms, a graph database
                                                                                 connections in data for applications
                                       treats relationships within data as
                                                                                 like recommendation engines, impact
                                       “first-class citizens” to uncover
Jason Ader - +1 617 235 7519                                                                              William Blair   2

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Private Company Spotlight: Neo4j




analysis for network and IT               Neo4j customers a first-party             If you combine the fact that the
operations, and real-time routing for     experience on GCP with integrated         database industry constantly
logistics. They’re also using graphs to   customer billing and support. GCP         underestimates how widely applicable
reinvent their approach to business       field reps will be fully compensated on   graph databases are with the naivete
applications such as master data          Neo4j deals via the marketplace           about how difficult it is to build a
management, identity and access           providing strong GTM momentum for         world-class graph database (and not
management, content management,           Neo4j through that partnership.           just as an afterthought to a non-native
fraud detection, and portfolio and risk                                             database), we think we have a
                                          Neo4j has integrations with key data
management.                                                                         multiyear head start.
                                          infrastructure players including
Our customers lead the way in using       Confluent/Kafka, IBM, HP, and Cisco       6. On November 6, you announced
graphs to underpin their machine          (CSCO $44.87; Market Perform). EY,        Neo4j Aura, your DBaaS product.
learning and AI efforts. For AI to be     Capgemini, and Deloitte have              What’s the significance of this
more situationally appropriate and        formidable graph implementation           offering?
"learn" in a way that understands and     practices.
                                                                                    Aura takes the most popular graph
refines outputs, it needs to be
                                          5. Who are some of your main              database in the world to the cloud and
underpinned by context. Context is all
                                          competitors and how do you                offers it as a pay-as-you-go service. We
of the peripheral information relevant
                                          differentiate your solution?              have always believed that open source
to that specific AI. Neo4j delivers a
                                                                                    and self-serve was the best way to
purpose-built method for adding and       Our biggest competitor is the lack of
                                                                                    bring our powerful and flexible
leveraging context from data. Proven      awareness about when and how to use
                                                                                    database to a large number of
repeatedly in deployments worldwide,      a graph database to solve a connected
                                                                                    developers globally. As we grew
graph technology is a powerful            data problem. For decades, relational
                                                                                    mindshare, large enterprises became
foundation for AI, a position validated   methods have plagued software
                                                                                    paying customers by moving to our
by Google’s (GOOG $1294.69;               developers with the constant need to
                                                                                    Enterprise Edition, with the vast
Outpeform) DeepMind team as well as       translate conceptual business
                                                                                    majority using Neo4j in the cloud
hundreds of recently published            relationships into physical relational
                                                                                    (mainly self-managed). However, not
academic research papers on machine       tables and back again. A graph data
                                                                                    all users have the resources to move
learning and AI.                          model looks just like what you’d draw
                                                                                    to our Enterprise Edition. So first, we
                                          on your whiteboard if you were
Neo4j has been instrumental in                                                      see Aura expanding our market
                                          describing the relationships between
working with the International                                                      opportunity to individuals and SMB
                                          people or devices in your
Standards Organization (ISO) to                                                     customers and allowing us to
                                          organization.
formally initiate a universal Graph                                                 monetize some of the free usage. We
Query Language (GQL) standard. GQL        As the category leader, we’re             see this creating a strategic moat that
is the first new ISO database language    accustomed to smaller competitors         protects us from below, allowing us to
in 35 years, the last one was SQL. GQL    entering the market and challenging       win over developers with a $50 per
has strong roots in Cypher—the query      us. I’m glad they’re here because         month DBaaS.
language invented by Neo4j. GQL is        challengers keep the category healthy.
                                                                                    Many enterprise customers don’t want
great news for users because it means     At the stage that we’re at though,
                                                                                    to self-manage. Aura removes the
interoperability, portability, and        we’re more focused on the bigger
availability of skill sets and should     players like Amazon and Microsoft.        operational burden associated with
only accelerate graph adoption in                                                   managing a database, allowing
                                          There are many technical reasons why      developers to focus solely on building
large conservative enterprises.
                                          Neo4j outshines other technologies for    applications. In the long run, given
Being a practitioner-led company,         connected-data applications—              workload migration to the cloud, Aura
Neo4j has cultivated a diverse            scalability, performance, flexibility,    will be our primary offering across all
ecosystem to support graph                and developer productivity to name a      segments including large enterprises.
deployment across a variety of tech       few.
infrastructures. We partner with                                                    Aura uniquely provides on-demand
                                          In today’s world, users expect sub-
Google Cloud Platform                                                               scalability, allowing customers to add
                                          second response times from web            capacity through one-click
(GCP), Microsoft Azure, and Amazon
                                          applications, even those that integrate
Web Services to provide customer                                                    deployment with zero downtime.
                                          data from a myriad of disparate
choice for graph deployment and                                                     Lastly, Aura provides always-on
                                          sources. Relational systems cannot        availability and a self-healing system
support the multicloud reality of most
                                          reliably deliver this level of
large enterprises. We have a strategic                                              that identifies and proactively
                                          responsiveness.
partnership with GCP that allows                                                    addresses emerging issues.

Jason Ader - +1 617 235 7519                                                                                 William Blair   3

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analyst.

DOW JONES: 27821.10
S&P 500: 3108.46
NASDAQ: 8526.73

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Coverage Universe                 Percent      Inv. Banking Relationships *                       Percent

Outperform (Buy)                           68        Outperform (Buy)                                   20
Market Perform (Hold)                      31        Market Perform (Hold)                               8
Underperform (Sell)                         1        Underperform (Sell)                                 0
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IMPACT REPORT




More than a graph database,
Neo4j spreads graph platform
message
FEBRUARY 13 2018
BY JAMES CURTIS




The company formerly known as Neo Technology has officially taken on the name Neo4j. The move makes
sense, given that most considered Neo4j the name of the company anyway, so the change effectively made
it official. It recently released a new version of its Neo4j graph database, in addition to a positioning pivot
of Neo4j as a graph platform. So, in addition to storing graphs, the new platform offers developer tooling
and analytical capabilities, as well as greater integration with relational and big-data technologies, among
other updates.


  The 451 Take

  In the world of graph technology, Neo4j is perhaps the most well-known of the graph database players,
  having gotten its start in 2000. The company as a whole has done well to raise the general awareness
  and adoption of graph technologies. While its platform strategy is just starting, and some functionality
  is still maturing, Neo4j is positioning itself to reach further into the enterprise while broadening its user
  base. Interestingly, the graph market is expanding. A fair number of NoSQL vendors have added graph
  as a data model, the majority of the larger relational database players offer graph, and a handful of new
  vendors have entered the market recently. Perhaps this points to greater graph adoption, which could
  be good timing for Neo4j.




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Context

The company was founded in 2000 when cofounders Emil Eifrem and Johan Svensson developed the
database model now known as the property graph model, which later became the basis for Neo4j, the
company's graph database. While the first version of the Neo4j database appeared in 2002, the company
wasn't officially formed until 2007 (in Sweden), which is also when the company first made Neo4j
available as open source. Today, Neo4j resides in San Mateo, California, with offices in London; Munich;
Paris; and Malmo, Sweden.


The firm reports more than 250 employees across its locations, up measurably from the 125 reported in our
earlier coverage. The company has amassed $80m in funding, with the most recent round of $36m coming
in November 2016.


Neo4j has provided some metrics, including total downloads in excess of 10 million. Total paying
customers are reported at more than 250, with more than half of those claiming over $1bn in revenue.



Products

In October 2017, Neo4j announced version 3.3 of its graph database, as well as its foray into positioning
Neo4j as a graph platform. At the heart of the platform, of course, sits the Neo4j graph database, but the
company has assembled other pieces around Neo4j to drive its platform strategy. A few features are worth
noting.


For developers (as well as other users), the company rolled out Neo4j Desktop, a front-end tool that serves
as a type of control panel for developers. The tool handles user management and security, including
Kerberos authentication with LDAP integration. Managing schemas, indexes, scaling and Bolt drivers,
Neo4j Desktop enables access to additional interfaces, such as the company's Neo4j Browser for data
discovery and visualization.




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Enhancing analytics has also been a recent focus for the company. Neo4j has added a graph analytics
library that is targeted at enabling deeper insight when dealing with relational and big data. The new library
includes community detection algorithms for evaluating how a graph is partitioned, pathfinding algorithms
for determining or evaluating the shortest path, and centrality algorithms (such as PageRank) for identifying
distinct nodes within a network.


Neo4j has also been expanding the reach of Cypher, the company's query language, which is also available
via an open source project known as openCypher. Recognizing Apache Spark's momentum in the market,
the company developed Cypher for Apache Spark (CAPS), and it has contributed the code to the
openCypher project. With CAPS, Spark users will be able to create an in-memory graph using Spark that
can then be materialized with Cypher.



Strategy

By offering functionality around Neo4j as a platform, the company is in a better position to expand its user
base beyond the hardcore developer to other personas, such as data scientists, data analysts, data engineers,
business analysts and so forth. While the company has a loyal developer following – claiming over 100,000
trained developers – the goal is to reach other business groups and move up to the executive ranks within an
organization.


Closely associated with expanding the user base is the goal to play a greater role within the datacenter
environment. The idea is that, by integrating more powerfully at the data level, there will be more
organizational data available at the user level to work with graphs, or what is often called relationship data.
Thus, the added tooling around Neo4j further increases the type of users and what those users can then do
with that data.


For instance, as part of the company's fall announcements, Neo4j provided a prerelease version of the
Neo4j ETL tool with a front-end GUI. At a high level, the tool facilitates the ability to move relational data
into a graph, creating all of the graph dimensions from the relational data. The tool provides a visual way
for users to map data elements from a relational source and then see how it would appear as a graph,
selecting attributes as necessary.



Competition



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While Neo4j is categorized as a pure-play graph database vendor, the company competes not only with peer
graph vendors, but also vendors for which graph is just one part of an overall database offering. For peer
graph competitors, we can identify TigerGraph, Memgraph and Ontotext with GraphDB. Open source
graph databases include Titan and JanusGraph. Objectivity's ThingSpan operates on the company's object
database, Objectivity/DB, but is leveraged for graph-based applications. There is also Franz's
AllegroGraph.


A number of NoSQL vendors have also added graph technology as a means to drive multi-model
capabilities within their databases. These vendors include MongoDB, DataStax, MarkLogic, ArangoDB,
OrientDB and Microsoft's cloud-based Cosmos DB (which is available on Azure).


Some veteran database vendors have also shown interest in graph technology. Oracle offers its Oracle
Spatial and Graph, which is offered as an option for the company's Oracle Database. Teradata likewise
offers graph analytics as part of the Aster product. IBM is also noteworthy, leveraging JanusGraph for its
Compose for JanusGraph offering that replaces IBM's previous cloud service known as IBM Graph.



SWOT Analysis
Strengths


Neo4j holds notable branding recognition in the graph database market, and the company's new platform strategy should be
influential in helping organizations adopt graph technology.

Weaknesses


While the market is showing signs of improving, the graph database market is a small portion of the overall database market.
Organizations are still learning how to leverage graph databases, which often can be perceived as add-on technology to an
existing data environment.

Opportunities


Neo4j's branding will often get the company inside an enterprise. With its new platform strategy, the new platform capabilities
can help Neo4j expand its presence once it has landed the customer.

Threats


When most organizations consider adopting graph technology, Neo4j can often be the first vendor to come to mind. As such,




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the company is often in the crosshairs of other graph vendors.




James Curtis
Senior Analyst, Data Platforms & Analytics




   M&A ACTIVITY BY SECTOR
   M&A ACTIVITY BY ACQUIRER
   FIGURES SHOWN INDICATE NUMBER OF TRANSACTIONS




COMPANY MENTIONS (PRIMARY)
Neo4j
COMPANY MENTIONS (OTHER)
ArangoDB DataStax Franz IBM MarkLogic Memgraph Microsoft MongoDB Objectivity Inc Ontotext Oracle Orient
Technologies Teradata TigerGraph
CHANNELS
Data Platforms & Analytics
SECTORS
All / Information management / Data management / Non-relational databases




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                                                                                          architecture on Neo4j




   IMPACT RPORT




   Neo Technolog take in $36m, revamp clutering architecture
   on Neo4j

   NOVMR 10 2016
   Y JAM CURTI (/ANALYT-TAM/ANALYT/JAM+CURTI)




   Neo Technology is on a fairly consistent release schedule with its Neo4j graph database. Not quite six months since the release
   of version 3.0, the company announced a beta availability of version 3.1. While the company has not normally delivered a beta
   release, this time it makes sense given the significance of the updates. For example, the company overhauled Neo4j's
   clustering architecture. Growth with enterprise deployments has led Neo Technology to add a number of security
   enhancements as well. It has also announced a series D funding round.



       The 451 Take
       Neo Technology enjoys strong name recognition in the graph database market. With its noted reputation, the company
       has grown a strong and active community around its offering. Neo Technology's new security and revamped clustering
       architecture should win points with the enterprise crowd. There are still challenges for Neo Technology because the
       competitive landscape has never been stronger. Graph database interest continues to pick up steam, as evidenced by
       many NoSQL vendors adding graph capabilities to their multi-model databases, along with the established vendors
       adding graph to augment their SQL-based databases. We have also seen graph crop up as a cloud service.




   Context

   As of late, Neo Technology has kept a fairly consistent release schedule of about every six months. Each new release represents
   a steep uptick in capabilities for the company's Neo4j graph database. Neo Technology was founded in 2007 when it was first
   open sourced, although the database had been around since 2002. As such, the company has been able to foster a healthy
   developer community. Neo Technology's Neo4j graph database is perhaps the most well-known and deployed graph databases
   on the market, and the company could be considered bellwether for the graph market as a whole.


   Neo Technology recently reported that it experienced 50% growth over last year. While management claims that the company
   could have grown faster, it chose to control its growth and reports that it is on track to turn cash-flow positive in Q1 2017. The
   deliberate growth strategy has paid off; the company announced a series D funding round of $36m, taking total funding to




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https://451research.com/report-short?entityId=90679                                                                                     1/5
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   $80.1m. This latest round was led by Greenbridge Investment Partners and included participation from Sunstone Capital,
   Creandum and Eight Roads Ventures. Neo Technology reports an increase in enterprise accounts, taking its total customer
   count to 200. The company also grew its headcount and now reports 125.




   Product

   Neo Technology's latest 3.1 release includes an overhaul of Neo4j's clustering architecture to the Raft consensus algorithm,
   which is based on academic research from Stanford University. The company notes that this latest change is the database's
   third cluster architecture revamp since its inception, the other two being Zookeeper and Paxos. Management identifies a
   couple of overriding reasons for the new architecture. One is to provide greater scaling capabilities that better align with the
   long-term plans for Neo4j, and the other is to enable greater data consistency, particularly in a clustered environment.


   Eventual consistency is a data-model approach that is often adopted by NoSQL databases. Raft, however, provides a
   framework to address some of these shortcomings and enables much stronger consistency. A user, for instance, may register
   on a particular shopping site and then immediately try to log in to continue shopping. When the user is not able to log in
   immediately after registration, it can often be that certain servers are not in sync. Eventually, the user can log in, but not until
   after some initial frustration. This is a simple example, but Neo Technology is looking to address the shortcoming of eventual
   consistency by providing stronger consistency through implementing a casual-consistency architecture.


   At a high level, casual consistency provides a number of benefits. One is that from a client perspective, there is always a
   consistent view of the data. Another is that there is built-in load balancing, which bifurcates the read and write requests to
   separate servers. There are generally more reads (browsing) from an application, for instance, than from requests for those
   that are buying (writes). Other benefits include supporting large clusters (1,000 plus instances), no dependency on a master
   server, as well as the ability to mix and match instance types, such as application servers, reporting servers and various IoT
   devices. Besides updating the clustering architecture, Neo Technology has enhanced Neo4j's security capabilities. For
   instance, there is a choice for authentication for Active Directory or LDAP, role-based authorization, and sub-graph access
   control, and the ability to add specialized functions such as Kerberos via a pluggable architecture framework.


   Other updates include the Neo4j Schema Viewer, which is built into the Neo4j web-based browser tool. Schema Viewer allows
   graphs to be viewed at a current point in time based on database statistics, helping developers and others understand the
   database contents. Another update is the availability and compatibility with IBM POWER8 CAPI Flash, which was announced
   earlier and provides hardware acceleration for those leveraging the POWER8 architecture.


   Neo Technology announced the Neo4j beta in October and plans to deliver the general-availability version in Q4. While Neo
   Technology has not traditionally released a public beta, it makes sense this time given the significance of a new clustering
   architecture update and the need to rally the Neo4j community prior to a general-availability release.




   Competition

   Neo Technology faces competition from a number of areas. One is the growing list of pure-play or specialty graph databases
   for which we would count Sparsity Technologies, AllegroGaph from Franz, GraphDB from Ontotext and ThingSpan from
   Objectivity Inc.

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   Another group of competitors comes from the NoSQL vendors, which we classify as multi-model NoSQL database vendors,
   where graph is counted as one data model among the other models offered. DataStax has its DataStax Enterprise Graph that
   was recently added to company's DataStax Enterprise offering and hearkens back to the acquisition of Aurelius, the
   commercial supporter of the Titan graph database. MarkLogic with its Semantics functionality, OrientDB and ArangoDB also
   offer graph. IBM is another with its IBM Graph service provided on the company's Bluemix cloud platform. It's also worth
   pointing out that MongoDB has publicly announced that it will be adding graph to its NoSQL database, and Redis Labs
   enables graph capabilities with its Modules functionality.


   Some veteran database vendors have also shown interest in graph technology. Oracle offers its Oracle Spatial and Graph,
   which is offered as an option for the company's Oracle Database. Teradata likewise offers graph analytics as part of the Aster
   product.




   WOT Anali
   trength

   Neo Technology is not afraid to stay at the forefront of certain technologies, as evidenced by the company taking on a
   new clustering architecture. The company has also shown to be fiscally responsible in how it manages its funding and
   growth.


   Weaknee

   Neo4j is still maturing as an enterprise citizen. The new clustering architecture will add stronger consistency and
   greater security capabilities, which are necessary for securing confidence with the enterprise audience.


   Opportunitie

   With strong name recognition along with newly added enterprise functionality, Neo Technology is in a good position to
   capitalize on taking graph more broadly into the enterprise environment.


   Threat

   There are a number of NoSQL players adding graph capabilities to their NoSQL multi-model databases, which may
   cause some challenges for Neo Technology and the other specialty graph database vendors.




   Jame Curti (/analt-team/analt/Jame+Curti)
   Senior Analyst, Data Platforms & Analytics




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        MongoD Inc. [fka 10gen] (1) (http://mak.the451group.com/reult?aic_acquirer=MongoD+Inc. [fka 10gen])
        Oracle Corporation (121) (http://mak.the451group.com/reult?aic_acquirer=Oracle+Corporation)
        Teradata (16) (http://mak.the451group.com/reult?aic_acquirer=Teradata)

        Figure hown indicate numer of tranaction




   COMPANY MNTION (PRIMARY)
   Neo Technolog (/earch?compan=Neo+Technolog)

   COMPANY MNTION (OTHR)
   ArangoD , Aureliu , Creandum , Datatax , ight Road Venture , Franz , Greenridge Invetment Partner , IM , MarkLogic , MongoD ,
   Ojectivit Inc , Ontotext , Oracle , Orient Technologie , Redi La , parit Technologie , tanford Univerit , untone Capital , Teradata
   (/earch?compan=Teradata)

   CHANNL
   Data Platform & Analtic (/dahoard?view=channel&channel=6)

   CTOR
   All / Information management / Data management / Non-relational dataae (/earch?ector=432)




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                                                                                          architecture on Neo4j




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          SEALED
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                    EXHIBIT 13
    REDACTED VERSION OF
   DOCUMENT SOUGHT TO BE
         SEALED
